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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Newport News Division


 KIMBERLY T. LOVETT,

                       Plaintiff,

                  V.                                                  Civil Action No. 4:17cv73

 TRANSPORTATION DISTRICT COMMISSION
 OF HAMPTON ROADS,
 d/b/a HAMPTON ROADS TRANSIT,

                       Defendant.

                                     OPINION & ORDER


        This matter comes before the Court pursuant to Plaintiff Kimberly T. Lovett's

 ("Plaintiffs" or "Lovett's") Motion to Stay. Doc. 4. For the reasons stated herein, the Court

 GRANTS the Motion to Stay.

                                    I.      BACKGROUND


        Plaintiff filed her Complaint in this Court on June 30, 2017. Doc. 1 ("Compl."). She

 alleged that Defendant Transportation District Commission of Hampton Roads d/b/a Hampton

 Roads Transit ("Defendant" or "HRT") violated the Equal Pay Act ("EPA") and the Fair Labor

 Standards Act ("FLSA"). See generally id

        Plaintiff filed the instant Motion to Stay on October 26, 2017. Doc. 5. Defendant filed a

 Motion to Dismiss on October 30, 2017. Doc. 6. After receiving an extension from the Court,

 Defendant responded in opposition to the instant Motion to Stay on November 15, 2017. Doc.

 14. Plaintiff replied in support of the instant Motion to Stay on November 21,2017. Doc. 17.
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           Plaintiff also amended her Complaint, with Defendant's consent, on November 28, 2017.

 See Doc. 19 ("Am. Compl."). She alleged the same two (2) claims for relief that she previously

 alleged. See id.

                                    II.     LEGAL STANDARD


           "The power to stay proceedings is incidental to the power inherent in every court to

 control the disposition of the causes on its docket with economy of time and effort for itself, for

 counsel, and for the litigants." Landis v. N. Am. Co.. 299 U.S. 248, 254 (1936). "[P]roper use

 of this authority calls for the exercise of judgment which must weigh competing interests and

 maintain an even balance." Williford v. Armstrong World Indus.. 715 F.2d 124, 127 (4th Cir.

 1983) (citation and internal quotation marks omitted). "The party seeking a stay must justify it

 by clear and convincing circumstances outweighing potential harm to the party against whom it

 is operative." Williford. 715 F.2d at 127. "Specifically, a district court should consider three

 factors: '(1) the interests of judicial economy; (2) hardship and equity to the moving party if the

 action is not stayed; [and] (3) potential prejudice to the non-moving party.'" Sehler v. Prospect

 Mortg.. LLC. No. I:13cv473, 2013 WL 5184216, at *2 (E.D. Va. Sept. 16, 2013) (quoting

 Johnson v. DePuv Orthopaedics. Inc.. No. 3:12cv2274, 2012 WL 4538642, at *2 (D.S.C. Oct. 1,

 2012)).

                                          III.   ANALYSIS

           Plaintiff requests a stay until March 5, 2018. Doc. 5 at 1. She states that she filed a

Charge of Discrimination with the Equal Employment Opportunity Commission ("EEOC") on

September 3,2017, regarding a Title VII claim based on the same facts as this litigation. Id. at 1.

4. She seeks the stay until the first business day following the expiration of the one hundred

eighty (180) days for the EEOC to investigate the charge. Id. at 1.
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         Plaintiff has met her burden of demonstrating the need for a stay.                       The cases that

Defendant cites where courts denied stays involve clearer patterns of delay. See, e.g.. Arora v.

James. No. 5:14cvl8, 2015 WL 1352097, at *2 (D.S.C. Mar. 24, 2015) (case pending for almost

a year). Here, the delay was only two (2) months, and the shortness of that delay suggests that

negligence is more likely the cause of the delay than any intentional attempt to prolong the case.'
Plaintiff is also correct that judicial economy favors combining claims that are based on

essentially the same facts and that she could suffer claim preclusion in the absence of a stay.

See, e.g.. Wilkes v. Wv. Dep't of Emolovment Div. of Labor Standards. 314 F.3d 501, 505 (10th

Cir. 2002), as amended (Jan. 14, 2003) (applying claim preclusion to a Title VII claim in light of

judgment on EPA and FLSA claims). Plaintiff is incorrect in her assertion that she cannot seek

an early Right to Sue letter, as there is no binding authority on point, and while the Westem

District of Virginia case she cited supports her argument, courts in the Eastern District of

Virginia have thus far adopted the opposite view. Sm Tavlor v. Cardiology Clinic. Inc.. No.

4:14cv00046, 2015 WL 770439, at *3 (W.D. Va. Feb. 24, 2015) (finding that the EEOC cannot

issue early right to sue letters, as Plaintiff asserts, and citing the relevant Eastern District

authority with which it disagreed). Nevertheless, Defendant also cites no authority that seeking

an early letter is a mandatory prerequisite to seeking a stay. Sm Doc. 14 at 2-3. Plaintiff need

not seek unusual remedies such as early letters in order to meet the standard for a stay, especially

where she only seeks a stay for the one hundred eighty (180) day period. Because judicial

economy and the risk of severe prejudice to Plaintiff both clearly favor a stay, and because

Defendant will suffer minimal prejudice from a short delay, the Court GRANTS the instant

Motion to Stay.

' Plaintiff also indicated that she filed her case when she did because it is easier to meet the standard for two (2)
years of damages than the standard for (3) years of damages, and she wanted to file this suit within two (2) years of
the relevant conduct. Doc. 17 at 2
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                                     IV.    CONCLUSION


          For the reasons stated herein, the Court GRANTS the Motion to Stay, Doc. 4, and STAY

this case until March 5, 2018. The Court further ORDERS Plaintiff to file a status report

regarding the Right to Sue letter on March 5, 2018.

          The Clerk is REQUESTED to send a copy of this Opinion & Order to all counsel of

record.


          It is so ORDERED.                                      , ,
                                                                 /s/
                                                 Henry Coke Morgan. Jr.
                                                 Senior United Stales District Jud'26 /     ,
                                                      HENRY COKE MORGAN, JR./ I ^
                                             SENIOR UNITED STATES DISTRICT JUDGE

Norfolk, Virginia
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